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6                               UNITED STATES DISTRICT COURT

7                                      DISTRICT OF NEVADA

8                                                  ***

9    JOHNNY EDWARD McMAHON,

10                                   Petitioner,     Case No. 2:12-cv-00774-MMD-CWH

11   vs.                                                                ORDER

12   WARDEN NEVEN, et al.,

13                               Respondents.

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15          The Court noted that petitioner appeared to have not exhausted his available

16   remedies in state court for all of his grounds. Petitioner stated that he did not raise any

17   of the grounds in his direct appeal, that he did raise all of the grounds in his state habeas

18   corpus petition, and the appeal from the denial of his state habeas corpus petition is still

19   pending. See Order, at 1 (dkt. no. 8). The Court directed petitioner to show cause why

20   the Court should not dismiss this action. Id., at 2. Now before the Court are petitioner’s

21   motion to stay and hold in abeyance petitioner’s habeas corpus petition (dkt. no. 9),

22   respondents’ opposition (dkt. no. 10), and petitioner’s reply (dkt. no. 11).

23          Petitioner’s motion (dkt. no. 9) contains no argument why the Court should grant a

24   stay. In petitioner’s reply (dkt. no. 11), he argues about the legality of his arrest and the

25   determination of probable cause. Those arguments are irrelevant to whether he has

26   exhausted his state-court remedies. See 28 U.S.C. § 2254(b).
27          There are two methods by which the Court can stay this action, but neither

28   method is applicable. First, the court has discretion to stay a mixed petition, containing
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1    both exhausted grounds and unexhausted grounds. Rhines v. Weber, 544 U.S. 269

2    (2005). However, the amended petition (dkt. no. 6) is not mixed. It is fully unexhausted,

3    and the Rhines procedure is inapplicable. Second, the Court has discretion to (1) allow

4    the petitioner to file an amended petition that deletes the unexhausted claims, (2) stay

5    and hold in abeyance the amended, fully exhausted petition while the petitioner returns

6    to state court, and (3) reopen the action and allow the petitioner to file another amended

7    petition that includes the newly exhausted claims. King v. Ryan, 564 F.3d 1133 (9th Cir.

8    2009).      This procedure is inapplicable because all of petitioner’s claims are

9    unexhausted; an amended petition that deletes the unexhausted claims would contain

10   nothing. Consequently, the Court will dismiss this action.

11            IT IS THEREFORE ORDERED that petitioner’s motion to stay and hold in

12   abeyance petitioner’s habeas corpus petition (dkt. no. 9) is DENIED.

13            IT IS FURTHER ORDERED that this action is DISMISSED without prejudice for

14   petitioner’s failure to exhaust his available remedies in state court. The clerk of the court

15   shall enter judgment accordingly.

16                  DATED THIS 11th day of September 2012.

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                                               UNITED STATES DISTRICT JUDGE
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